        Case 7:20-cv-00130 Document 1 Filed on 05/21/20 in TXSD Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
            Plaintiff,                     ) CIVIL NO. 7:20-CV-130
       vs.                                 )
                                           )
                                           )
191.30 ACRES OF LAND, MORE OR LESS,
                                           )
SITUATE IN STARR COUNTY, STATE OF          )
TEXAS; AND SERVANDO LUERA                  )
                                           )
            Defendants.                    )
______________________________________________________________________________

                       COMPLAINT IN CONDEMNATION
______________________________________________________________________________

        1.      This is a civil action brought by the United States of America at the request of the

Secretary of the Department of Homeland Security, through [the Acquisition Program Manager,

Wall Program Management Office, U.S. Border Patrol Program Management Office Directorate,

U.S. Border Patrol, U.S. Customs and Border Protection, Department of Homeland Security], for

the taking of property under the power of eminent domain through a Declaration of Taking, and

for the determination and award of just compensation to the owners and parties in interest.

        2.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1358.

        3.      The interest in property taken herein is under and in accordance with the authority

set forth in Schedule “A.”

        4.      The public purpose for which said interest in property is taken is set forth in

Schedule “B.”

        5.      The legal description and map or plat of land in which certain interests are being

acquired by the filing of this Complaint, pursuant to the Declaration of Taking, are set forth in

                                              Page 1 of 2
      Case 7:20-cv-00130 Document 1 Filed on 05/21/20 in TXSD Page 2 of 2




Schedules “C” and “D.”

       6.      The interest being acquired in the property described in Schedules “C” and “D” is

set forth in Schedule “E.”

       7.      The amount of just compensation estimated for the property interest being acquired

is set forth in Schedule “F.”

       8.      The names and addresses of known parties having or claiming an interest in said

acquired property are set forth in Schedule “G.”

       9.      Local and state taxing authorities may have or claim an interest in the property by

reason of taxes and assessments due and eligible.

       WHEREFORE, Plaintiff requests judgment that the interest described in Schedule “E” of

the property described in Schedules “C” and “D” be condemned, and that just compensation for

the taking of said interest be ascertained and awarded, and for such other relief as may be lawful

and proper.


                                                     Respectfully submitted,

                                                     RYAN K. PATRICK
                                                     United States Attorney
                                                     Southern District of Texas

                                             By:     s/ Manuel Muniz Lorenzi___________
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                                            Page 2 of 2
